        CASE 0:19-cv-01578-JRT-JFD Doc. 202 Filed 01/15/21 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


IN RE PORK ANTITRUST LITIGATION                Civil No. 18-1776 (JRT/HB)

This Document Relates To:
DPP and CIIP Actions


COMMONWEALTH OF
PUERTO RICO,                                   Civil No. 19-2723 (JRT/HB)

              Plaintiff,
                                               ORDER GRANTING STIPULATION FOR
v.                                             DISMISSAL OF DEFENDANT HORMEL
                                               FOODS, LLC WITHOUT PREJUDICE
AGRISTATS, ET AL.,

              Defendants.


WINN-DIXIE STORES, INC., AND                   Civil No. 19-1578 (JRT/HB)
BI-LO HOLDINGS, LLC,

              Plaintiffs,

v.

AGRISTATS, ET AL.,

              Defendants.




      The parties have filed a Stipulation for Dismissal of Defendant Hormel Foods, LLC

Without Prejudice. (ECF No. 622) Based on all the files, records, and proceedings herein



                                           1
        CASE 0:19-cv-01578-JRT-JFD Doc. 202 Filed 01/15/21 Page 2 of 2




IT IS HEREBY ORDERED that the parties’ Stipulation is GRANTED as follows:

      1.      The Direct Purchaser Plaintiffs’ Third Amended Complaint [Pork ECF

No.431] is DISMISSED WITHOUT PREJUDICE as to Hormel Foods, LLC.

      2.      The Commercial and Institutional Indirect Purchaser Plaintiffs’ Third

Amended Complaint [Pork ECF No. 432] is DISMISSED WITHOUT PREJUDICE as to

Hormel Foods, LLC.

      3.      The Commonwealth of Puerto Rico’s Third Amended Complaint [Puerto

Rico ECF No. 103] is DISMISSED WITHOUT PREJUDICE as to Hormel Foods, LLC.

      4.      Winn-Dixie Stores, Inc.’s and Bi-Lo Holdings, LLC’s Second Amended

Complaint [Winn-Dixie ECF No. 94] is DISMISSED WITHOUT PREJUDICE as to Hormel

Foods, LLC.



DATED: January 14, 2021
at Minneapolis, Minnesota.
                                                _s/John R. Tunheim_______________
                                                JOHN R. TUNHEIM
                                                Chief Judge
                                                United States District Court




                                            2
